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12                               UNITED STATES DISTRICT COURT
13                              NORTHERN DISTRICT OF CALIFORNIA
14
                                      SAN FRANCISCO DIVISION
15
     SUSAN GAGETTA and TRACIE GOMEZ,               Case No. 3:22-cv-03757-AMO
16
                                                   Hon. Araceli Martinez-Olguin
17                      Plaintiffs,
                                                   STIPULATION AND [PROPOSED]
18            v.                                   ORDER CONTINUING MEDIATION
                                                   DEADLINE
19
     WALMART INC.,                                 (CIV. L.R. 6-1 & 6-2)
20

21                      Defendant.

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     STIPULATION AND [PROPOSED] ORDER CONTINUING MEDIATION DEADLINE
     CASE NO. 3:22-cv-03757-AMO
      Case 3:22-cv-03757-WHO Document 49 Filed 05/10/23 Page 2 of 4




 1           Plaintiffs Susan Gagetta and Tracie Gomez and Defendant Walmart Inc. (together, the

 2   “Parties”) respectfully submit this Stipulation and [Proposed] Order Continuing Mediation

 3   Deadline and state as follows:

 4           WHEREAS, Plaintiffs filed the Complaint in this action on June 24, 2022 (ECF No. 1);

 5           WHEREAS, on December 14, 2022, the Court held an initial case management conference

 6   and entered an order referring the case to private mediation to be “completed within 3 months of

 7   the pleadings being settled” (ECF No. 35);

 8           WHEREAS, Plaintiffs filed their First Amended Complaint on January 9, 2023 (ECF No.

 9   40);

10           WHEREAS, Defendant filed its answer on February 9, 2023 (ECF No. 43);

11           WHEREAS, the Parties have been meeting and conferring about settlement, potential

12   mediators, and their availability for a mediation, but have yet to agree on a mediator and a date for

13   a mediation;

14           WHEREAS, subject to the Court’s approval, the Parties have agreed to an extension of the

15   deadline to complete a mediation to July 31, 2023.

16           NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED by the Parties,

17   subject to the approval of this Court, that:

18           1.     The deadline for the Parties to complete a mediation shall be extended to July 31,

19   2023.

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     Dated: May 10, 2023                            Respectfully submitted,
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                                                    BURSOR & FISHER, P.A.
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23                                                  By: /s/ L. Timothy Fisher
                                                        L. Timothy Fisher
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                                                         Attorneys for Plaintiffs
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     STIPULATION AND [PROPOSED] ORDER CONTINUING MEDIATION DEADLINE                                      1
     CASE NO. 3:22-cv-03757-AMO
      Case 3:22-cv-03757-WHO Document 49 Filed 05/10/23 Page 3 of 4



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 2   Dated: May 10, 2023                            KING & SPALDING LLP

 3                                                  By: /s/ Livia M. Kiser
 4                                                      LIVIA M. KISER

 5                                                        Attorneys for Defendant Walmart Inc.

 6

 7                                        L.R. 5-1 ATTESTATION

 8          I, L. Timothy Fisher, attest that all signatories listed herein, and on whose behalf this

 9   filing is submitted, concur in this filing’s content and have authorized this filing.

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                                                    By:     /s/ L. Timothy Fisher
11                                                          L. Timothy Fisher

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     STIPULATION AND [PROPOSED] ORDER CONTINUING MEDIATION DEADLINE                                     2
     CASE NO. 3:22-cv-03757-AMO
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 1                                       [PROPOSED] ORDER

 2          Upon review of the foregoing stipulation of the parties, and finding good cause for the

 3   same, the Court hereby orders that the deadline for the Parties to complete a mediation is

 4   continued to July 31, 2023.

 5          IT IS SO ORDERED.

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 7   Dated: _____________________
                                                  ARACELI MARTINEZ-OLGUIN
 8                                                United States District Judge
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     STIPULATION AND [PROPOSED] ORDER CONTINUING MEDIATION DEADLINE                                   3
     CASE NO. 3:22-cv-03757-AMO
